                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 DENISE KIEFER,                                          )
                                                         )
                          Plaintiff,                     )
                                                         )
 v.                                                      )            CIVIL ACTION NO.
                                                         )               3:16-cv-00059
 PORTFOLIO RECOVERY ASSOCIATES,                          )
 LLC,                                                    )
                                                         )
                          Defendant.                     )

                              JOINT STIPULATION OF DISMISSAL

           COME NOW plaintiff Denise Kiefer ("Plaintiff") and defendant Portfolio Recovery

 Associates, LLC ("Defendant"), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and hereby jointly

 stipulate that this action is dismissed, with prejudice, with the parties to bear their own attorney's

 fees, costs and expenses.

           Respectfully submitted this 8th day of April, 2016.

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